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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                  Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                           Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                Debtor.


   AMENDED NOTICE OF HEARING FOR A STATUS CONFERENCE ON (I) THE
  MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
 ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING
 EXAMINATION OF WITNESSES AND THE PRODUCTION OF DOCUMENTS AND
      (II) THE STATUS CONFERENCE REGARDING THE DISCLOSURE BY
       INTERSTATE FIRE & CASUALTY COMPANY, NATIONAL SURETY
 CORPORATION, AND FIREMAN’S FUND INSURANCE COMPANY OF SURVIVOR
   PERSONAL INFORMATION FROM PROOFS OF CLAIM TO THIRD PARTIES

          PLEASE TAKE NOTICE that the hearings on the (i) Motion of the Official Committee

of Unsecured Creditors for Entry of an Order Pursuant to Bankruptcy Rule 2004 Authorizing

Examination of Witnesses and the Production of Documents filed on October 9, 2023 as [Docket

No. 2556] (the “Motion”), and (ii) the Status Conference Regarding the Disclosure by Interstate

Fire & Casualty Company, National Surety Corporation and Fireman’s Fund Insurance

Company of Survivor Personal Information from Proofs of Claim to Third Parties [Docket No.

2564] (the “Status Conference Order”) that was set for March 14, 2024 will be held as a status

conference on March 18, 2024 at 10:00 a.m. (Prevailing Eastern Time) (the “Status

Conference”).

          PLEASE TAKE FURTHER NOTICE that a Joint Status Report shall be filed by the

parties no later than March 13, 2024. Any responses to the Motion or relating to the Status

Conference must be in writing, conform to the Federal Rules of Bankruptcy Procedure and the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

Southern District of New York, be filed by March 11, 2024 at 4:00 p.m. (Prevailing Eastern


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Time), and shall be served on (a) counsel to the Official Committee of Unsecured Creditors (the

“Committee”), Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 36th Floor, New York,

New York Attn: James I. Stang, Esq., Karen B. Dine, Esq., and Brittany M. Michael, Esq; (b)

counsel to The Roman Catholic Diocese of Rockville, New York (the “Diocese”), Jones Day,

250 Vesey Street, New York, New York 10281-1048 Attn: Corinne Ball, Esq. Todd Geremia,

Esq, Benjamin Rosenblum, Esq., Andrew Butler, Esq.; and (c) William K. Harrington, U.S.

Department of Justice, Office of the U.S. Trustee, 201 Varick Street, Room 1006, New York,

NY 10014, Attn: Greg M. Zipes and Shara Cornell, Esq.

          PLEASE TAKE FURTHER NOTICE that the Status Conference will be a hybrid

Zoom/live conference, with some participants appearing by Zoom for Government and others

appearing in the U.S. Bankruptcy Court for the Southern District of New York, located at One

Bowling Green, New York, NY, in Courtroom 523. Parties wishing to appear at the Status

Conference via Zoom for Government, whether making a “live” or “listen only” appearance

before the Court, must make an electronic appearance through the Court’s website at

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl on or before March 15, 2024, at 4:00

p.m. (Eastern Time). After the deadline for parties to make electronic appearances has passed,

parties who have made their electronic appearance through the Court’s website will receive an

invitation from the Court with a Zoom link that will allow them to attend the Status Conference.

Requests to receive a Zoom link should not be emailed to the Court, and the Court will not

respond to late requests that are submitted on the day of the Status Conference. Further

information on the use of Zoom for Government can be found at the Court’s website at

https://www.nysb.uscourts.gov/zoom-video-hearing-guide.

          PLEASE TAKE FURTHER NOTICE that the Status Conference may be continued or



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adjourned thereafter from time to time without further notice other than an announcement of the

adjourned date or dates at the Status Conference or a later hearing.

          PLEASE TAKE FURTHER NOTICE that any responding parties are required to

telephonically attend the Status Conference, and failure to appear may result in relief being

granted upon default.



 Dated:       March 5, 2024             PACHULSKI STANG ZIEHL & JONES LLP


                                        /s/ Karen B. Dine
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                                        Iain A. W. Nasatir, Esq.
                                        Karen B. Dine, Esq.
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                                        Counsel for the Official Committee of Unsecured Creditors




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